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                    UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MINNESOTA
______________________________________________________________________________
In re:                                                        BKY No. 17-41184

                                                                                          Chapter 7 Case
Ruby Red Dentata, LLC

               Debtor.


                                              ORDER


       This case is before the court on the trustee’s motion for an order authorizing the sale of

bankruptcy estate property free and clear of interests pursuant to 11 U.S.C. § 363.

       Appearances, if any, were noted upon the record.

       Upon the motion and the files,

       IT IS ORDERED:

       1.      The trustee is authorized to sell the bankruptcy estate’s interest in the real property,

located at 20 North Fourth Street, 327 1st Avenue North and 28 North 4th Street, Minneapolis, MN

55401 and legally described as:

       Lots 10, 11, and 12, Auditor’s Subdivision No. 152, Hennepin County, Minnesota

(the “Property”) along with additional assets relating to the Property as described in the

commercial purchase agreement between the trustee and North Fourth Minneapolis, LLC, to North

Fourth Minneapolis, LLC for the sale price of $37,500;

       2.      The sale of the Property and assets is free and clear of the following liens, claims,

encumbrances and interests pursuant to 11 U.S.C. § 363(f):

            a. All rights, claims and interests of Mr. Roman Gadaskin arising out of original
               Purchase Agreement dated March 29, 2018, and as agreed to by Addendum to
               Commercial Purchase Agreement and Counter Offer dated April 26, 2018 and
               Buyer executed as at April 30, 2018, as buyer of the Property, and;


                                                                        NOTICE OF ELECTRONIC ENTRY AND
                                                                        FILING ORDER OR JUDGMENT
                                                                        Filed and Docket Entry made on10/28/2019
                                                                        Lori Vosejpka, Clerk, by WM
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             b. All rights, claims and interests of Common Ground Real Estate Investors, LLC and
                3121 North Racine, LLC and Mr. Brandon Karow and Mr. Jeffrey A. Dow, arising
                out of a purchase agreement dated August 2, 2018, for the portion of the Property
                located at 20-22 North 4th Street, Minneapolis, MN 55401, legally described as Lot
                12, Auditor’s Subdivision No. 152, Hennepin County, Minnesota, Torrens
                Property, but not including 327 1st Avenue North.

        3.      Sale of the Property to North Fourth Minneapolis, LLC constitutes a legal, valid

and effective transfer, assignment, sale and conveyance of the bankruptcy estate’s interest in the

Property and assets described in the commercial purchase agreement and shall vest North Fourth

Minneapolis, LLC with all right, title and interest in such acquired assets.

        4.      The trustee is authorized to execute such documents as are necessary to finalize the

sale.

        5.      The trustee is authorized to pay all standard closing costs necessary to complete the

transaction, including the state deed tax and up to $2,000 for any outstanding utility expenses

incurred prior to closing.

        6.      This Order is effective immediately notwithstanding Fed. R. Bankr. P. 6004(h).



                                                         /e/ William J. Fisher
Dated: October 28, 2019                               ___________________________________
                                                      William J. Fisher
                                                      United States Bankruptcy Judge




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